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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA


WENDY CHISHOLM,                                                CIVIL ACTION
    Plaintiff

VERSUS                                                         No. __________

THE GUARDIAN LIFE INSURANCE                                    SECTION “___”
COMPANY OF AMERICA,
     Defendant



                         PLAINTIFF’S ORIGINAL COMPLAINT

                              PRELIMINARY STATEMENT


       1.     Plaintiff WENDY CHISHOLM, hereinafter referred to as “Plaintiff,” brings

this ERISA action against The Guardian Life Insurance Company of America, in its

capacity as Administrator of the Delta Career Education Corporation Long Term

Disability Plan, hereinafter referred to as “Defendant”. Plaintiff brings this action to

secure all disability benefits, whether they be described as short term, long term and/or

waiver of premium claims to which Plaintiff is entitled under a disability insurance policy

underwritten and administered by Defendant. Plaintiff is covered under the policy by

virtue of her employment with Delta Career Education Corporation.

                                            PARTIES

       2.     Plaintiff is a citizen and resident of Baton Rouge, Louisiana.

       3.     Defendant is a properly organized business entity doing business in the

State of Louisiana.

       4.     The disability plan at issue in the case at bar was funded and
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administered by Defendant.

        5.    Defendant is a business entity doing business in the Middle District of

Louisiana.   Defendant may be served with process by serving its registered agent,

Corporation Service Company, 501 Louisiana Avenue, Baton Rouge, Louisiana 70802-

5921.

                              JURISDICTION AND VENUE

        6.    This court has jurisdiction to hear this claim pursuant to 28 U.S.C. ' 1331,

in that the claim arises under the laws of the United States of America. Specifically,

Plaintiff brings this action to enforce her rights under section 502(a)(1)(B) of the

Employee Retirement Income Security Act, (ERISA), which provides "[a] civil action

may be brought . . . (1) by a participant or by a beneficiary . . . (B) to recover benefits

due to him under the terms of his plan, to enforce his rights under the terms of the plan,

or to clarify his rights to future benefits under the terms of the plan." 29 U.S.C. §

1132(a)(1)(B).

        7.    Venue in the Middle District of Louisiana is proper by virtue of Defendant

doing business in the Middle District of Louisiana.   Under the ERISA statute, venue is

proper "in the district where the plan is administered, where the breach took place, or

where a defendant resides or may be found." 29 U.S.C. § 1132(e)(2). Therefore,

venue may also be proper under the third prong of ERISA's venue provision, specifically

“where a defendant resides or may be found." (Id.) “District courts within the Fifth

Circuit have adopted the reasoning outlined by the Ninth Circuit in Varsic v. United

States District Court for the Central District of California, 607 F.2d 245 (9th Cir. 1979).



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See Sanders v. State Street Bank and Trust Company, 813 F. Supp. 529, 533 (S.D.

Tex. 1993). The Ninth Circuit, in Varsic, concluded that whether a defendant "resides

or may be found" in a jurisdiction, for ERISA venue purposes, is coextensive with

whether a court possesses personal jurisdiction over the defendant. Varsic, 607 F.2d

at 248.” See Frost v. ReliOn, Inc., 2007 U.S. Dist. LEXIS 17646, 5-6 (N.D. Tex. Mar. 2,

2007). Under ERISA's nationwide service of process provision, a district court may

exercise personal jurisdiction over the defendant if it determines that the defendant has

sufficient ties to the United States. See Bellaire General Hospital v. Blue Cross Blue

Shield of Michigan, 97 F.3d 822, 825-26 (5th Cir. 1996), citing Busch v. Buchman,

Buchman & O'Brien, Law Firm, 11 F.3d 1255, 1258 (5th Cir. 1994). Here, Defendant is

“found” within the Middle District of Louisiana, as it does business here, and the court

has personal jurisdiction over Defendant, as it has sufficient ties to the United States.

                   CONTRACTUAL AND FIDUCIARY RELATIONSHIP

       8.      Plaintiff has been a covered beneficiary under a group disability benefits

policy issued by Defendant at all times relevant to this action

       9.      The disability policy at issue was obtained by Plaintiff by virtue of

Plaintiff’s employment with Delta Career Education Corporation at the time of Plaintiff’s

onset of disability.

       10.     Under the terms of the policy, Defendant administered the Plan and

retained the sole authority to grant or deny benefits to applicants.

       11.     Defendant funds the Plan benefits.

       12.     Because the Defendant both funds the Plan benefits and retains the sole



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authority to grant or deny benefits, Defendant has an inherent conflict of interest.

        13.   Because of the conflict of interest described above, this Court should

consider Defendant’s decision to deny disability benefits as an important factor during

its review in determining Defendant’s abuse of discretion.

        14.   Further, in order for the Plan Administrator’s decisions to be reviewed by

this Court under an “arbitrary and capricious” standard, the Plan must properly give the

Plan Administrator “discretion” to make said decisions within the plain language in the

Plan.

        15.   Defendant has a fiduciary obligation to administer the Plan fairly and to

furnish disability benefits according to the terms of the Plan.

                               ADMINISTRATIVE APPEAL

        16.   Plaintiff is a 46 year old woman previously employed by Delta Career

Education Corporation as a “Department Head/Medical Assistant.”

        17.   Department Head/Medical Assistant is classified under the Dictionary of

Occupational Titles as Sedentary with an SVP of 7 and considered to be skilled work.

        18.   Due to Plaintiff’s disabling conditions, Plaintiff ceased actively working on

May 6, 2009 as on this date Plaintiff suffered from abdominal pain from a diagnosed

abdominal mass, Dercum’s disease.

        19.   Plaintiff alleges that she became disabled on May 7, 2009.

        20.   Plaintiff filed for short term disability benefits with Defendant.

        21.   Short term disability benefits were granted.

        22.   Plaintiff filed for long term disability benefits through the Plan administered



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by the Defendant.

       23.    On September 19, 2016, Defendant denied long term disability benefits

under the Plan. Said letter allowed Plaintiff 180 days to appeal this decision.

       24.    At the time Defendant denied Plaintiff long term disability benefits, the

disability standard in effect pursuant to the Plan was that Plaintiff must be considered

unable to perform “Any Occupation.”

       25.    If granted the Plan would pay monthly benefit of $1,900.00.

       26.    On March 17, 2017 Plaintiff pursued her administrative remedies set forth

in the Plan by requesting administrative review of the denial of benefits.

       27.    Plaintiff timely perfected her administrative appeal pursuant to the Plan by

sending letter requesting same to the Defendant.

       28.    Plaintiff submitted additional information including medical records to

show that she is totally disabled from the performance of both her own and any other

occupation as defined by the Plan.

       29.    Additionally, the Social Security Administration issued a fully favorable

decision on Plaintiff’s claim for disability benefits under Title II and Title XVI of the

Social Security Act, finding that Plaintiff is “disabled” during the relevant time period.

Notably, the SSA’s definition of disability is significantly more restrictive than

Defendant’s as they require the claimant to be unable to work in “any occupation in the

National Economy.”

       30.    Defendant    was    provided    documentation    of   the   Social   Security

Administration’s finding that Plaintiff was found to be totally disabled under Title II and



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Title XVI of the Social Security Act.

        31.      On or about August 22, 2016, Defendant’s internal consultant, Kimberly

Stauder, CDMS, vocational rehabilitation specialist, performed a paper review of

Plaintiff’s claim file.

        32.      On or about November 21, 2017, Defendant’s internal consultant, Jennifer

D. Rupnik, MS, CRC, vocational rehabilitation specialist, performed a paper review of

Plaintiff’s claim file.

        33.      There is an indication that a “Charlotte Broderick, RN, CRRN, CCM,”

nurse case manager I, reviewed Plaintiff’s claim file, but Defendant failed to provide

Plaintiff with said review.

        34.      There is an indication that a “Dawn L. Hughes, RN, MSN, CCM” reviewed

Plaintiff’s claim file, but Defendant failed to provide Plaintiff with said review.

        35.      Defendant’s consultants completed their reports without examining

Plaintiff.

        36.      On January 5, 2018, Defendant notified Plaintiff that Defendant affirmed

its original decision to deny Plaintiff’s claim for long term disability benefits.

        37.      Defendant also notified Plaintiff on January 5, 2018 that Plaintiff had

exhausted her administrative remedies.

        38.      Defendant, in its final denial, discounted the opinions of Plaintiff’s treating

physicians, among others, and the documented limitations from which Plaintiff suffers

including the effects of Plaintiff’s impairments on her ability to engage in work activities.

        39.      Plaintiff has now exhausted her administrative remedies, and her claim is



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ripe for judicial review pursuant to 29 U.S.C. § 1132.

                                     MEDICAL FACTS

       40.     Plaintiff suffers from multiple medical conditions resulting in both

exertional and nonexertional impairments.

       41.     Plaintiff suffers from Dercum’s Disease, hypertension, depression,

migraine headaches, chronic pain syndrome, insomnia, anxiety, and osteoarthritis in

both hips.

       42.     Treating physicians document continued chronic pain, as well as

decreased range of motion and weakness.

       43.     Plaintiff’s multiple disorders have resulted in restrictions in activity, have

severely limited Plaintiff’s range of motion, and have significantly curtailed her ability to

engage in any form of exertional activity.

       44.     Further, Plaintiff’s physical impairments have resulted in chronic pain and

discomfort.

       45.     Plaintiff’s treating physicians document these symptoms. Plaintiff does

not assert that she suffers from said symptoms based solely on her own subjective

allegations.

       46.     Physicians have prescribed Plaintiff with multiple medications, including

narcotic pain relievers, in an effort to address her multiple symptoms.

       47.     However, Plaintiff continues to suffer from breakthrough pain, discomfort,

and limitations in functioning, as documented throughout the administrative record.

       48.     Plaintiff’s documented pain is so severe that it impairs her ability to



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maintain the pace, persistence and concentration required to maintain competitive

employment on a full time basis, meaning an 8 hour day, day after day, week after

week, month after month.

       49.    Plaintiff’s medications cause additional side effects in the form of sedation

and cognitive difficulties.

       50.    The aforementioned impairments and their symptoms preclude Plaintiff’s

performance of any work activities on a consistent basis.

       51.    As such, Plaintiff has been and remains disabled per the terms of the Plan

and has sought disability benefits pursuant to said Plan.

       52.    However, after exhausting her administrative remedies, Defendant

persists in denying Plaintiff her rightfully owed disability benefits.

                        DEFENDANT’S CONFLICT OF INTEREST

       53.    At all relevant times, Defendant has been operating under an inherent and

structural conflict of interest as Defendant is liable for benefit payments due to Plaintiff

and each payment depletes Defendant’s assets.

       54.    Defendant’s determination was influenced by its conflict of interest.

       55.    Defendant has failed to take active steps to reduce potential bias and to

promote accuracy of its benefits determinations.

       56.    The long term disability Plan gave Defendant the right to have Plaintiff

submit to a physical examination at the appeal level.

       57.    A physical examination, with a full file review, provides an evaluator with

more information than a medical file review alone.



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       58.    More information promotes accurate claims assessment.

       59.    Despite having the right to a physical examination, Defendant did not ask

Plaintiff to submit to one.

                                           COUNT I:
         WRONGFUL DENIAL OF BENEFITS UNDER ERISA, 29 U.S.C. § 1132

       60.    Plaintiff incorporates those allegations contained in paragraphs 1 through

59 as though set forth at length herein.

       61.    Defendant has wrongfully denied disability benefits to Plaintiff in violation

of Plan provisions and ERISA for the following reasons:

              a.      Plaintiff is totally disabled, in that she cannot perform the material

              duties of her own occupation, and she cannot perform the material duties

              of any other occupation which her medical condition, education, training,

              or experience would reasonably allow;

              b.      Defendant failed to afford proper weight to the evidence in the

              administrative record showing that Plaintiff is totally disabled;

              c.      Defendant’s interpretation of the definition of disability contained in

              the policy is contrary to the plain language of the policy, as it is

              unreasonable, arbitrary, and capricious; and

              d.      Defendant has violated its contractual obligation to furnish disability

              benefits to Plaintiff.

                               COUNT II: ATTORNEY FEES AND COSTS

       62.    Plaintiff repeats and realleges the allegations of paragraphs 1 through 61

above.

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       63.    By reason of the Defendant’s failure to pay Plaintiff benefits as due under

the terms of the Plan, Plaintiff has been forced to retain attorneys to recover such

benefits, for which Plaintiff has and will continue to incur attorney’s fees. Plaintiff is

entitled to recover reasonable attorney’s fees and costs of this action, pursuant to

Section 502(g)(1) of ERISA, 29 U.S.C. §1132(g)(1).

             WHEREFORE, Plaintiff demands judgment for the following:

       A.     Grant Plaintiff declaratory relief, finding that she is entitled to all past due

short term and long term disability benefits yet unpaid;

       B.     Order Defendant to pay past short term and long term disability benefits

retroactive to October 5, 2016 to the present in the monthly amount specified in the

Plan and subject to such offsets as are permitted in the Plan, plus pre-judgment

interest;

       C.     Order Defendant to remand claim for future administrative review and

continue to make future long term disability benefits in the monthly amount specified in

the Plan and subject to such offsets as are permitted in the Plan until such time as

Defendant makes an adverse determination of long-term disability consistent with

ERISA and Plaintiff’s entitlements under the Plan;

       D.     Order Defendant to pay for the costs of this action and Plaintiff’s

attorney’s fees, pursuant to Section 502(g) of ERISA, 29 U.S.C. § 1132(g); and

       E.     For such other relief as may be deemed just and proper by the Court.




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Dated: Baton Rouge, Louisiana
       July 25, 2018


                                   Respectfully submitted,


                                          s/J. Price McNamara

                                   By:    _____________________________
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                                          FOR PLAINTIFF,
                                          WENDY CHISHOLM




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